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IN THE UNITED sTATEs DISTRIcT cotm'r FH»ED B‘»»'_…
FoR THE wEsTERN DISTRICT oF TENNESSEE 9515,~7 giglng '

   

WESTERN DIVISION

 

REBECCA H. TREACE,
Plaintiff,
V-

03-2409 Ml/P

UNUM LIFE INSURANCE COMPANY OF
AMERICA,

Defendant.

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REPORT AND RECOMMENDATION ON PLAINTIFF’S RENEWED MOTION
FOR SANCTIONS AND FOR MODIFICATION OF
THE COURT'S SCHEDULING ORDER AND
PLAINTIFF'S REPORT OF FACE TO FACE
MEETING CONCERNING PLAINTIFF’S RENEWED MOTION FOR SANCTIONS
AND FOR MODIFICATION OF THE COURT'S SCHEDULING ORDER AND
PLAINTIFF'S SECOND MOTION FOR SANCTIONS

 

Before the Court is Plaintiff Rebecca H. Treace's Renewed
Motion for Sanctions and for Modification of the Court's Scheduling
Order, filed on January 21, 2005 (Dkt # 135), and Plaintiff’s
Report of Face to Face Meeting Concerning Plaintiff's Renewed
Motion for Sanctions and for Modification of the Court's Scheduling
Order and Plaintiff's Second Motion for Sanctions, filed March 15,
2005 (Dkt #176). Defendant Unum Life Insurance Company of America
(“Unum”) filed its response on April ll, 2005. The motions Were

referred to the United States Magistrate Judge for report and

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recommendation.l On May 19, 2005, the Court held a hearing on the
motions. Counsel for all parties were present and heard. For the
reasons below, it is recommended that the motions be GRANTED in
part and DENIED in part.
I. PROPOSED FIN'DINGS OF FACT

This lawsuit arises from injuries suffered by Treace as a
result of an automobile accident on March 9, 1999, and Unum's
subsequent denial of her disability insurance claim. On April 9,
2003, Treace filed a complaint in the Circuit Court of Shelby
County against Unum, alleging breach of contract in violation of
the Tennessee Consumer Protection Act, Tenn. Code Ann. 47-18-104 §§

seg., statutory bad faith in violation of Tenn. Code Ann. 56-7-105

et seg., and misrepresentation. The case was removed to federal
court on May 30, 2003. Treace alleges in her complaint that she

paid her insurance premiums to Unum for seventeen years on two
disability insurance policies, but that after her automobile
accident, Unum refused to pay her disability benefits. She also
claims that Unum wrongfully cancelled her policy because of a late
premium payment in October 1999 and refused to honor her request
for a premium waiver. Unum neintains that it properly denied
Treace's disability claim because she failed to satisfy the ninety-

day elimination period and that she failed to pay premiums timely.

 

lOn April 22, 2005, this case was reassigned to this
Magistrate Judge.

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During discovery, Treace propounded interrogatories and
document requests on Unum. Dissatisfied with Unum’s responses to
some her discovery requests, on June 25, 2004, Treace filed a
motion to compel. Unum responded by filing a motion for protective
order. On August ll, 2004, Magistrate Judge Diane Vescovo granted
in part each motion.

After engaging in further discovery, Treace filed.a motion for
sanctions, alleging that Unum failed to provide discovery as
required by the court’s August ll order and that Unum engaged in
various other discovery abuses. The Court denied that motion
without prejudice based on Treace's failure to consult with Unum
prior to filing the motion. Treace renewed her motion after her
attorney attempted, but failed, to contact the opposing party. The
Court, again, denied the motion.without prejudice, and ordered that
the parties engage in, a face-to-face meeting to discuss this
motion. The parties met in February 2005, but were unable to
resolve their discovery disputes. Trial is set for July 18, 2005.

In her motion for sanctions, Treace argues that Unum has
abused the discovery process, particularly with respect to four
discovery matters: (A) a telephone log documenting the date and
time of each call placed by Treace to Unum’s call Center during the
time period that she claims she called Unum to discuss her claim

and to ask for a pmemium waiver; (B) guidelines and policies

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concerning the acceptance of premium payments by customers and
procedures concerning reinstatement procedures; (C) Unum's
production of Treace’s claim file; and (D) a Rule 30(b)(6)
deposition.
A. TeleDhone Loq

On September 19, 2003, Treace propounded interrogatories and
requests for production of documents on Unum. Unum served its
responses on November 3, 2003, and after consultation with opposing
counsel, Unum supplemented its responses on February 18, 2004. The
following three interrogatories and requests for production relate
to a telephone log registering data of each call placed by Treace
to Unum’s call center:

INTERROGATORY NO. 4: Please identify any and all

employees, agents and assigns of Unum who participated in

any way with the application for and subsequent

administration of the Unum policyA and the claim of

Treace, and as to each state their title, position, and

a brief job description.

RESPONSE: Pursuant to Rule 33(d), the defendant refers
plaintiff to the non-privileged portions of the claim

file, application file, specimen policy, and the
defendant's Rule 26 Disclosures, which have been
provided.

INTERROGATORY NO. 10: Please provide the names of any
and all individuals employed or who were authorized by
Unum who spoke with Treace concerning the claim submitted
by Treace on the policies and the dates the conversations
took place and the substance of the conversations.

RESPONSE: Defendant objects to the Interrogatory on the

grounds that it is overly broad, ambiguous and
potentially seeks information protected by the attorney~

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client privilege and/or work product doctrine. Without
waiving and subject to said objections and pursuant to
Rule 33(d}, the defendant refers plaintiff to the non-
privileged portions of the claim file, which has been
provided.

DOCUMENT REQUEST NO. 5: Please provide any and all
tapes, transcripts of tapes, phone logs or notes or other
documentation confirming any telephone conversations
between Treace and any employee or authorized agent of

UNUM from March 1999 to the present.

SUPPLEMENTAL RESPONSE: There are no tapes or transcripts

of tapes in the possession of UNUM. The defendant states

any phone logs or notes or other documentation confirming

any telephone conversations between Treace and any

employee or authorized agent of UNUM from March 1999 to

the present would be located in the plaintiff's claim

file, which is a written, detailed, chronological account

of the plaintiff’s claim, which has been provided.

Treace believed that Unum's responses to these discovery
request were inadequate, and as a result, she filed a motion to
compel on June 25, 2004. Treace challenged Unum’s responses to
interrogatory' numbers 4 and 10 and document request number 5
because Unum failed to produce any telephone logs of calls made by
Treace to Unum’s call center. In support of her motion, Treace
submitted an affidavit from Linda Nee, a former Unum employee. Nee
states in her affidavit that Unum has a “computerized database that
tracks every activity taken on a claim” and that “[e]ach and every
phone call and activity is . . . to be recorded in this log.”
(Affidavit of Linda Nee at j 10.) Nee states that after reviewing

the documents produced by Unum in discovery, the computerized

activity phone log was noticeably missing. (Id.) Judge Vescovo

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granted Treace’s motion with respect to the phone logs, and ordered
Ununl to “produce the computerized activity log pertaining to
Treace’s claim or to supplement its response to state under oath
that no computerized activity log exists.” (6/11/04 order)

On August 25, 2004, Unum appealed Judge Vescovo’s order to the
District Judge. In response, Treace outlined the method by which
the computerized telephone log is created at Unum, and she attached
a sample telephone log report believed to have been generated by
the Unum call center. (_ee Treace's Memorandum in Opposition to
Unum's Appeal of Judge Vescovo's Order.) Unum replied that
Treace's sample telephone log

purports to be a listing of all telephone numbers from

which calls are placed to Unum's benefits center on a

given day. That is an entirely different thing than, as

Treace requested in her discovery and complains about in

her papers, a computer generated claim specific log that

is kept in the normal course of business in individual

disability claim files like Treace's.

(Unum's Reply, filed October 7, 2004.) The appeal was denied on
0ctober 21, 2004. Thereafter, in compliance with the August 11
order, Unum responded to Treace's discovery request by stating,
“Unum does not maintain a computerized activity log that tracks
every activity taken on a claim. Accordingly, it cannot produce
such a document with respect to plaintiff.” (Unum's Supplemental
Response to Plaintiff’s First Set of lnterrogatories and Requests

for Production of Documents.)

In the present motion, Treace argues that contrary to Unum's

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representation to Treace and to the court that it does not have a
computerized phone log, Unum in fact has such a log, as evidenced
by the declaration of Denise Payne Cole, a Systems Analyst of
UnumProvident Corporation's Voice Communications Department. The
declaration was attached to Unum's opposition to Treace’s motion
for summary judgment. In her declaration, Payne states that MCI,
Unum's telephone carrier, sends to Unum on a CD-ROM a n©nthly
invoice for each of Unum's toll-free telephone lines. The invoice
lists the telephone number of the caller, the time the call was
placed to the call center, and the duration of the call. Payne
also states that Unum saves this telephone information for each
invoice onto its internal SQL server database for one year. After
one year, Unum archives this information, although the information
remains accessible. Treace contends that this is precisely the
information that she sought in her discovery requests, and that
Unum provided the information only to serve its own interests in
response to a summary judgment motion. She claims that the log
should have been disclosed prior to the close of discovery, and
certainly should have been produced in compliance with the August
ll order.

Unum argues that these “logs” are merely telephone bills that
Unum uses to negotiate future telephone contracts with its longd
distance carrier. At the motion hearing, Unum's counsel stated,

“What Plaintiff was after, at least in his [sic] discovery

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requests, were logs that confirmed conversations with Treace, not
that record the fact that Treace made a call and therefore negate
the existence of a phone call ” Unum stands by its prior statement
that it has no computerized phone activity log as contemplated in
Treace's document request number 5 and the August 11 order.2

This Court submits that Unum should have produced these phone
records, which are kept by Unum in computerized format, in response
to Treace's original discovery requests. If there was any
ambiguity in the wording and intent of document request number 5
for “phone logs,” it was certainly made clear by Judge Vescovo’s
August 11 order that Treace was seeking even the most basic
telephone information, such as the date and time she called Unum
and the duration of the call. Moreover, in her response to Unum's
appeal of the August 11 order, Treace attached a sample of the type
of information that she was requesting. Unum should have provided
Treace with this information in compliance with Judge Vescovo's
order. Its failure to do so constitutes a violation of that order
and the discovery rules.
B. Guidelines, Policies, and Procedures of Unum

In her September 2003 document request, Treace requested the
following:

REQUEST NO. 8: Please provide a copy of any and all

 

2Apparently, Unum keeps an internal computerized activity
log for group policy holders but not for individual policy
holders, such as Treace.

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applicable Unum guidelines, policies, or procedures
concerning the acceptance of premiunlpayments by customer
and procedures concerning reinstatement of policies.

SUPPLEMENTAL RESPONSE: Defendant Life objects to this

Request on the grounds that: {1) it is overly broad in

time and scope; (2) it seeks documents that are not

relevant to any claim or defense of any party and are not

reasonably calculated to lead to the discovery of

admissible evidence; and (3) it seeks documents that are

confidential and proprietary. Without waiving said

objections, the Defendant states that the language in

each insurance policy is approved and in some cases

dictated by the Departments of Insurance of each state in

which the policy is sold. The language speaks for itself

and is conclusively presumed to be unambiguous and in

compliance with_ the laws of the state of Tennessee.

Please refer to the specimen policy which is produced.

Treace filed a motion to compel production of guidelines Unum
used in deciding that Treace's policy lapsed for non-payment of
premiums. Treace specifically highlighted Unum's Risk Management
Reference Guide (“RIMARE”), which allegedly contained information
regarding the waiver of premium payments during the months that
disability benefits are payable. Additionally, Linda Nee's
affidavit describes guidelines maintained by Unum concerning the
acceptance of premium payments, actions to be taken by billing
personnel when a payment is rejected, grace periods, collection of
lapsed premiums, and premium waivers.

In response, Unum claimed that the RIMARE only applied to
group disability policies and not individual policies such as
Treace's. Unum also filed a motion for protective order, in which

it stated, “Unum has agreed to produce its Claims Handling Manual

which contains Unum's policies and procedures for handling

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claims. . . . This document, along, with Treace's claim file and
policy, are all the relevant documents responsive to Request 8.”

Ultimately, the Court ordered Unum “to produce the RIMARE in
order for Treace to verify its applicability and to produce the
guidelines described, by Nee.” Pursuant to this order, Unum
produced the RIMARE, the “World of I.D. Benefits," and the Customer
Care Center Claims Manual. At that time, it also stated that it
was continuing to look through its files to make sure that it had
produced everything required by the Court. Treace now argues that
Unum should have produced the World of I.D. Benefits instead of
stating that all documents responsive to Request 8 were produced.
Unum refutes this by stating that the “World of I.D. Benefits was
not used or consulted in making determinations regarding Ms.
Treace’s claim for benefits.”

Additionally, Treace takes issue with the subsequent
production of related materials during a Rule 30(b)(6) deposition
of Unum on November 19, 2004. One such document was a page taken
from Unum's Individual Disability Guidelines Manual. Treace
contends these materials should have been produced in response to
the initial discovery, but Unum asserts that the production of
these documents was consistent with Judge Vescovo's order.

The Court submits that, although production of these documents
perhaps could have been completed in a more expeditious manner by

Unum, Unum's actions did not violate Judge Vescovo's order nor does

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its conduct amount to an abuse of discovery.3
C. Unum's File Concerning Treace

In her initial discovery request, Treace made the following
request:

REQUEST NO. 7: Please provide a complete copy of any

file maintained by Unum which in any way relates to

plaintiff whether maintained by paper format or

electronic means.

SUPPLEMENTAL RESPONSE: A non-privileged copy of the

Plaintiff's claim file, application file and policy have

been produced.
Although Unum initially indicated that it produced its entire file
on Treace, it subsequently supplemented its document production
several times. On August 17, 2004, Unum produced the underwriting
files that were not previously disclosed. Then, on October 7,
2004, Unum produced documents relating to Treace dated from 1993 to
the present, but this production occurred only after Treace
submitted a memorandum to the Court stating that Unum had produced
no documents dated later than 1994. Treace suggests that Unum was
hiding these documents and would have continued to hide them if she
had not called attention to the lack of disclosure to the Court.

Unum responds by arguing that its failure to disclose these

documents was inadvertent, and that it should not be faulted for

 

3At the May 19 motion hearing, Unum agreed to allow Treace
to review the entire copy of the relevant manuals and policies,
so long as she agreed to enter into a protective order. Unum
stated that it would make these manuals and policies available
within the next few days.

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complying with Rule 26’s supplemental disclosure requirement by
turning over documents after discovering them. A third instance of
production occurred at the Rule 30(b)(6) deposition of Unum. Unum,
however, contends that some of the documents produced, at the
deposition had already been produced to Treace. As to the other
documents that had not previously been produced, it is Unum's
position that these documents contained the same type of
information that had already been produced in other discovery
documents.

It is submitted that, based on the record before the court,
Treace has not sufficiently demonstrated that Unum has withheld
documents in her clainl file during discovery' or that it has
continued to withhold documents. Unum has supplemented its
production, as required by Rule 26. Although Treace contends that
there are two or three letters that she knows are missing from the
documents produced by Unum, Unum has repeatedly stated under oath
that it has conducted a diligent search for documents related to
Treace, and that all such documents have been produced. The Court
submits that sanctions are not warranted with respect to Unum's
production of Treace's claims file.

D. Rule 30(b)(6) Denosition

Lastly, Treace takes issue with Unum's selection of its Rule

30(b)(6) designee. She contends that she listed several topics in

her 30(b)(6) notice to be discussed at the deposition, and Unum

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failed to produce an individual with knowledge on those topics.
Specifically, these topics included Unum's file concerning Treace,
the method of tracking and recording phone calls through the call
center, method of recording payments, and the claims handling
practices implemented by Ralph Mohney, a high-level official at
Unum. In her motion, Treace asks the court to modify the
scheduling order to allow her to depose Ralph Mohney and Tim
Arnold, both of whom Treace asserts have relevant information about
Unum's “philosophy” or policy of aggressively denying insurance
claims.

Unum responds by claiming that the 30(b){6) witnesses were
knowledgeable on the noticed topics, but that Treace's counsel
failed to ask questions on those topics. lt argues that the
30(b)(6) deposition notice did not include claims handling
philosophy implemented by Mohney when he joined the company, and
that if Treace’s counsel would have limited the questioning to
claims handling procedures of Unum during the relevant time period,
the witnesses could have responded to such questions. As to the
abundance of objections, counsel for Unum asserts that he was doing
his job by objecting to improper questions. Finally, Unum contends
that if Treace wanted to ask questions about Ralph Mohney’s claims

handling philosophy, she should have deposed him before the

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discovery deadline.4

lt is submitted that Unum properly produced individuals who
had knowledge of the topics contained in Treace’s 30(b)(6) notice.
Unum claims, and the court agrees based on the record before it,
that the designees were prepared to answer questions relating to
the topics listed in the 30{b)(6) notice. Treace was aware prior
to the deposition that neither Ralph Mohney nor Tim Arnold were
going to be Unum's designees. Therefore, if Treace wanted to cover
topics relating to Mohney’s “philosophy,” she should have sought to
depose Mohney or Arnold.

II. PROPOSED CONCLUSIONS OF LAW

Treace contends that Unum's failure to provide the telephone
log, all applicable guidelines, all documents in its file relating
to Treace, and to properly designate 30(b)(6) witnesses,
constitutes sanctionable conduct under Rule 37. She asks for a
litany of sanctions, including (1) default judgment in her favor;
(2) precluding Unum from introducing any evidence on its guidelines
and policies at trial; (3} prohibiting Unum from introducing any
business records supporting the fact that Treace did not make any
telephone calls to Unum either to report her claim or to request a

waiver of premium; (4) instructing the jury about Unum's

 

4Treace’s counsel stated that he did not notice Mohney for a
deposition because he thought he would be able to get the
information during the 30(b)(6) deposition, thus minimizing
litigation costs.

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misrepresentations during discovery; (5) modifying the scheduling
order to allow Treace to retain the services of an economist to
inform the jury of the present value of the future disability
benefits and to name an additional expert to opine as to Unum's
business practices; (6) permitting Treace to depose Mohney and
Arnold;5 (7) and awarding attorneys fees and expenses incurred as
a result of the discovery violations.

Federal Rule of Civil Procedure 37 provides for sanctions
against parties who abuse discovery and violate discovery orders.
Paragraphs (b) and (c) to Rule 37 list several sanctions that
courts may impose against offending parties, including, among other
things, dismissing the case and awarding attorney’s fees and
expenses.

The Sixth Circuit recognizes that the sanction of dismissal
should be used as a last resort. Beil v. Lakewood Enq'g and Mfg.
QQ;, 15 F.3d 546, 552 (6th Cir. 1994). It has established certain
factors a court should consider when determining if dismissal of a
case is appropriate under Rule 37(b). See Sexton v. Uniroval Chem.
Co.l Inc., 62 Fed.Appx. 615, 618 n.2 (6th Cir. 2003}; Reg’l Refuse
§ys., lnc. v. Inland Reclamation Co., 842 F.2d 150, 154-55 (6th
Cir. 1988). These factors include (1) whether the party acted with

willfulness, bad faith, or fault; (2) whether prejudice resulted

 

5Treace also requested to depose Leanne Holmes and Lisa
Hyde, but the parties have informed the Court that an agreement
has been reached on this issue.

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from the discovery violation; (3) whether the party had been warned
that her conduct could lead to extreme sanctions; and (4) whether
less drastic sanctions were previously imposed or should be
considered. _§§ Sexton, 62 Fed.Appx. at 618.

In the present case, the court submits that the only conduct
that warrants an inposition of any type of sanctions is Unum's
failure to timely produce its telephone log as required by the
August 11 order. However, it is submitted that Unum's actions do
not warrant the extreme sanction of dismissal. The court submits
that less drastic sanctions are available and Unum has not been
previously warned in this case that its conduct could result in
dismissal or some other extreme sanction.6 Moreover, there is
insufficient evidence to support a finding that Unum acted in bad
faith with respect to the late disclosure of the phone log or other
discovery documents. Therefore, extreme sanctions are not
appropriate.

Although the sanction of exclusion of evidence is considered
to be less severe than dismissing a case, see Roskam Bakinq Co. v.

Lanham Mach. Co., lnc., 71 F.Supp.Zd 736, 749 (W.D. Mich. 1999), it

 

6The Court is aware of the cases cited by Treace, which she
argues reveal that Unum has been sanctioned for similar conduct
in other cases. Those cases are inapplicable to the present
case. In Frederick v. Unum Life Ins. Co. of America, 180 F.R.D.
384, 385 (D. Mont. 1998), the court was concerned with Unum's
Guide for Outside Counsel, which is not at issue in this case.
ln Paull v. First Unum Life lns. Co., 267 A.D.2d 970 (N.Y. App.
Div. 1999), the court concluded that Unum's “discovery responses
constitute deliberate and contumacious disregard” for a previous
court order. The Paull court did not provide any background or
analysis other than that one sentence, however.

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also is considered a harsh sanction. See K.M.C. Co., lnc. v.

lrving Trust Co., 757 F.2d 752, 765 (6th Cir. 1985). Exclusion of

relevant evidence defeats “the truthaseeking function of trial."

Bowling v. Vose, 3 F.3d 559r 562 (1st Cir. 1993). Thus, it should

only be used when other, lesser sanctions are inadequate to remedy

the offensive actions. Sanctions should be proportional to the
improper conduct. See Fed. R. Civ. Pro. 37; United States v.

 

Golden Elevator, lnc., 27 F.3d 301, 303 (7th Cir. 1994).

As stated earlier, it is hard to find ambiguity in Treace's
original discovery request for phone logs, but even so, Judge
Vescovo’s order, Nee’s affidavit, and Treace’s sample log certainly
should have made it clear to Unum that she wanted information about
the existence of calls she made to Unum's call center. That log,
and the information therein, falls squarely under document request
number 5 and the August 11 order.

Treace’s proposed sanction. that directly' addresses Unum's
failure to timely produce the telephone log would be for the Court
to preclude Unum from introducing any business records supporting
the fact that Treace did not make any telephone calls to Unum
either to report her claim or to request a waiver of premium.
There are at least two reasons why this sanction is not appropriate
in this case. First, as mentioned earlier, there is a general
preference to admitting evidence at trial as opposed to excluding
it. See, e.g., Shanklin v. Norfolk Southern RV. Co., 369 F.3d 978,

989 n.7 (6th Cir. 2004). Second, practical problems during trial

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would likely arise with respect to administering this evidentiary
sanction.7 The court submits that a more appropriate sanction
would be to grant Treace's request to modify the scheduling order
to allow Treace to conduct additional discovery for a sixty-day
period on the issues surrounding the telephone calls placed by
Treace and to allow Treace to issue third-party subpoenas, if
necessary.E Additionally, Treace should be permitted during this
sixty-day discovery period to disclose any additional experts, and
furthermore to depose Mohney and Arnold. The Court submits that
allowing Treace to engage in additional discovery and disclose
additional experts are appropriate sanctions under the
circumstances.

All other proposed sanctions are either disproportionate to
the sanctionable conduct or not tailored to address the conduct.
III. RECOMMENDATION

lt is therefore recommended that the Court modify the
scheduling order to allow Treace to conduct additional discovery
within a sixty-day period on the issues surrounding the telephone
calls placed by Treace to Unum's call center and to allow Treace to
issue third-party' subpoenas regarding the telephone calls, if

necessary. Additionally, it is recommended that Treace be

 

7For example, problems may arise as to what extent Unum
could cross-examine Treace if she were to testify that she called
Unum's toll-free line several times.

3The Court notes that the modified scheduling order proposed
in this Report and Recommendation would require that the current
trial date of July 18, 2005 be continued.

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permitted to disclose additional experts and be allowed to depose
Mohney and Arnold during this sixty-day period.

Unun1 shall be permitted. to disclose its rebuttal experts
thirty days after Treace’s expert disclosures, and expert
depositions shall be completed within thirty days after Unum's
experts are disclosed. To the extent Treace has asked for other
sanctions, it is recommended that those requests for sanctions be
denied.

Respectfully submitted this 27th day of May 2005.

/s/ Tu M, Pham
TU M. PHAM
United States Magistrate Judge

NOTICE

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS AFTER BEING SERVED WITH A COPY OF THE REPORT. 28
U.S.C. § 536(b)(1)(C). FAILURE TO FILE THEM WITHIN TEN (10) DAYS
MAY CONSTITUTE A WAIVER OF OBJECTIONS, EXCEPTIONS, AND ANY FURTHER
APPEAL.

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DISTRIC COURT - WESTNER DISRICT oF T'NN'ESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 249 in
case 2:03-CV-02409 Was distributed by fax, mail, or direct printing on
lune 1, 2005 to the parties listed.

 

 

R. Scott Vincent

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